           Case 1:15-cv-09621-KPF Document 9 Filed 04/29/16 Page 1 of 2


                                                                 USDC SONY
UNITED STATES DISTRICT COURT                                     OOCUME':T
SOUTHER.l\f DISTRICT OF NEW YORK                                 ELECTR.O"<ICALL V FILED~
                                                                 DOC#                ~  _. ·
ROYCE CORLEY,                                                     DATE FIL.ED.
                                                                   .
                                                                                     RI 17I      "(:C
                                Plaintiff,

                    -against-

HONORABLE BONNIE G. WITTNER,                                      l 5-CV-9621 (JGK)
J.S.C.; MICHAELJ. BARRY; PORTS &
FILES, INC.; GLENN F. HARDY, ESQ.;                              ORDER OF SERVICE
GLENN F. HARDY, P.C.; CYRUS R. VANCE,
JR.; JOHN TEMPLE; DAVID STUART;
GREG WEISS; JOHN DOE; AND THE CITY
OF NEW YORK,

                                Defendants.

JOHN G. KOELTL, United States District Judge:

       By order dated April 28, 2016, the Court granted Plaintiff's request to proceed without

prepayment of fees, that is, informa pauperis. 1 To allow Plaintiff to effect service on

Defendants Bonnie G. Wittner, Michael J. Barry, Ports & Files, Inc., Glenn F. Hardy, Glenn F.

Hardy, P.C., Cyrus R. Vance, Jr., John Temple, David Stuart, Greg Weiss, and the City of New

York through the U.S. Marshals Service, the Clerk of Court is instructed to send Plaintiff one

U.S. Marshals Service Process Receipt and Return form ("USM-285 form") for each Defendant.

Within thirty days of the date of this order, Plaintiff must complete a USM-285 form for each

Defendant and return those forms to the Court.

       If Plaintiff does not wish to use the Marshals Service to effect service, Plaintiff must

notify the Court in writing within thirty days of the date of this order and request that a summons

be issued directly to Plaintiff. If within thirty days, Plaintiff has not returned the USM-285



       1
         Under28 U.S.C. § 1915(b)(l), prisoners must pay the full amount of the $350.00 filing
fee even when they have been granted permission to proceed in forma pauper is.
           Case 1:15-cv-09621-KPF Document 9 Filed 04/29/16 Page 2 of 2


forms or requested a summons, under Rule 41 (b) of the Federal Rules of Civil Procedure, the

Court may dismiss this action for failure to prosecute.

       Upon receipt of each completed USM-285 form, the Clerk of Court shall issue a

summons and deliver to the Marshals Service all of the paperwork necessary for the Marshals

Service to effect service upon each Defendant.

       No matter what method of service Plaintiff chooses, Plaintiff must effect service within

90 days of the date the summons is issued. It is Plaintiff's responsibility to ensure that service is

made and, if necessary, to request an extension of time for service. See Meilleur v. Strong, 682

F.3d 56, 63 (2d Cir. 2012). If within 90 days of issuance of the summons, Plaintiff has not made

service or requested an extension of time in which to do so, under Rules 4(m) and 41 (b) of the

Federal Rules of Civil Procedure, the Court may dismiss this action for failure to prosecute.

Finally, it is Plaintiff's obligation to promptly submit a written notification to the Court if

Plaintiff's address changes, and the Court may dismiss the action if Plaintiff fails to do so.

SO ORDERED.



                                                      ~Q~T~-
Dated: April 29, 2016
       New York, New York


                                                              United States District Judge




                                                  2
